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 1   DANIEL J. BRODERICK, Bar #89424
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 2   DENNIS S. WAKS, Bar #142581
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 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JUAN BERNARDO RODRIGUEZ
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     NO. CR.S. 09-00224-WBS
11                                   )
                    Plaintiff,       )
12                                   )     STIPULATION AND ORDER RE:
               v.                    )     CONTINUANCE OF STATUS HEARING AND
13                                   )     FINDINGS OF EXCLUDABLE TIME
     JORGE ALVAREZ ALVAREZ, et al., )
14                                   )     DATE: November 8, 2010
                    Defendants.      )     TIME: 8:30 a.m.
15                                   )     JUDGE: Hon. William B. Shubb
     _______________________________ )
16
17          JORGE ALVAREZ ALVAREZ, by and through his counsel MICHAEL L.
18   CHASTAINE, JORGE GUTIERREZ CAMACHO by and through his attorneys MICHAEL
19   McDONNELL AND SAJI VETTIYIL, JASMINE MAUREEN COOK-VENEGAS by and
20   through her counsel J. TONEY, MIGUEL RUIZ MARTINEZ, by and through his
21   counsel CLEMENTE M. JIMENEZ, JUAN BERNARDO RODRIGUEZ, by and through
22   his counsel, DENNIS S. WAKS, Supervising Assistant Federal Defender,
23   and the United States Government, by and through its counsel, TODD D.
24   LERAS, Assistant United States Attorney, hereby agree that the status
25   conference set for October 4, 2010, be continued for a status
26   conference on November 8, 2010, at 8:30 a.m.        This continuance is
27   requested because counsel for the defendants require additional time to
28   obtain and review discovery, continue our investigation, and to
             Case 2:09-cr-00224-WBS Document 45 Filed 10/01/10 Page 2 of 4


 1   interview our clients and other witnesses.         The defendants in this case
 2   consent to this continuance.
 3            Counsel, along with the defendants agree that the time from the
 4   date of this order through November 8, 2010, should be excluded in
 5   computing the time within which trial must commence under the Speedy
 6   Trial Act, §3161(h)(7)(B)(iv) and Local Code T4. [reasonable time to
 7   prepare].
 8   DATED: September 30, 2010          Respectfully submitted,
 9                                      DANIEL J. BRODERICK
                                        Federal Defender
10
                                        /S/ Dennis S. Waks
11                                      ________________________________
                                        DENNIS S. WAKS
12                                      Supervising Assistant Federal Defender
                                        Attorney for Defendant
13                                      JUAN BERNARDO RODRIGUEZ
     DATED: September 30, 2010
14                                      /S/ Dennis S. Waks for
15                                      MICHAEL L. CHASTAINE
                                        Attorney for JORGE ALVAREZ ALVAREZ
16   DATED: September 30, 2010
                                        /S/ Dennis S. Waks for
17
                                        MICHAEL McDONNELL and SAJI VETTIYIL
18                                      Attorneys for JORGE GUTIERREZ CAMACHO
     DATED: September 30, 2010
19
                                        /S/ Dennis S. Waks for
20
                                        J. TONY, Attorney for
21                                      JASMINE MAUREEN COOK-VENEGAS
     DATED: September 30, 2010
22
                                        /S/ Dennis S. Waks for
23
                                        CLEMENTE M. JIMENEZ
24                                      Attorney for MIGUEL RUIZ MARTINEZ
25   / / /
26   / / /
27   / / /
28   / / /


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             Case 2:09-cr-00224-WBS Document 45 Filed 10/01/10 Page 3 of 4


 1   DATE:   September 30, 2010         BENJAMIN B. WAGNER
                                        United States Attorney
 2
 3
                                        /S/ Dennis S. Waks for
 4                                      _______________________________
                                        TODD D. LERAS
 5                                      Assistant United States Attorney
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 5   Attorney for Defendant
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                           IN THE UNITED STATES DISTRICT COURT
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                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )   NO. CR.S. 09-00224-WBS
 9                                         )
                        Plaintiff,         )
10                                         )   ORDER RE: CONTINUANCE OF STATUS
                  v.                       )   HEARING AND FINDINGS OF
11                                         )   EXCLUDABLE TIME
                                           )
12   JORGE ALVAREZ ALVAREZ, et al.,        )   DATE: November 8, 2010
                                           )   TIME: 8:30 a.m.
13                      Defendants.        )   JUDGE: Hon. William B. Shubb
                                           )
14   _______________________________
15                                    ORDER AND FINDINGS
16          The new status conference is set for November 8, 2010, at 8:30
17   a.m.   The court finds that the interests of justice are best served and
18   the public interest is protected by granting the continuance in the
19   above-captioned matter.       Accordingly, time is excluded from the date of
20   this order through November 8, 2010, in computing the time within which
21   trial must commence under the Speedy Trial Act, pursuant to Title 18
22   U.S.C. §3161(h)(7)(B)(iv) and Local Code T4. [reasonable time to
23   prepare.]
24   DATED:    September 30, 2010
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26
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